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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION


ROBERT LEE BELTON, JR.,

              Petitioner,

      v.                                                 CV 116-091
                                                          (Formerly CR 110-251)
UNITED STATES OF AMERICA,

              Respondent.


                                        ORDER



      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion

and DISMISSES Petitioner's motion filed pursuant to 28 U.S.C. § 2255.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of
appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules
Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel. 529 U.S. 473, 482-84 (2000), Petitioner has
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failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.1

Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

See 28 U.S.C. §1915(a)(3).

      Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED this /^day ofAugust, 2016, at Augusta, Georgia.



                                           HON^QRidBa^l. RANDAL HALL
                                           UNITEDSTATES DISTRICT JUDGE
                                           SOUTjmN DISTRICT OF GEORGIA




       luIf the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
